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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 LAURA ENRIQUEZ,

      Plaintiff,

 v.
                                                       Case No. 1:21-cv-01794
 ATLANTIC RECOVERY SOLUTIONS,
 LLC,

      Defendant.

                                 NOTICE OF WITHDRAWAL

        NOW COMES LAURA ENRIQUEZ ("Plaintiff”), through undersigned counsel,

notifying all parties the Notice of Voluntary Dismissal [Dkt. #7] is filed in error; accordingly, is

withdrawn.

 DATED: May 12, 2021                               Respectfully submitted,

                                                   LAURA ENRIQUEZ

                                                   By: /s/ Joseph S. Davidson

                                                   Joseph S. Davidson
                                                   LAW OFFICES OF JOSEPH P. DOYLE LLC
                                                   105 South Roselle Road
                                                   Suite 203
                                                   Schaumburg, Illinois 60193
                                                   +1 847-985-1100
                                                   jdavidson@fightbills.com
